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                                               No. 21-1756


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                        DAMIAN STINNIE, et al.,
                                                   Plaintiffs-Appellants,
                                                v.

                   RICHARD D. HOLCOMB, in his official capacity as the
           Commissioner of the VIRGINIA DEPARTMENT OF MOTOR VEHICLES,
                                               Defendant-Appellee.
                             ______________________________

                           On appeal from the United States District Court
                        for the Western District of Virginia (No. 3:16-cv-44)
                                ______________________________

                           SUPPLEMENTAL BRIEF OF APPELLEE
                              ______________________________

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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            21-1756
        No. __________             Caption: __________________________________________________
                                            Damian Stinnie, et al. v. Richard Holcomb

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Richard D. Holcomb, in his official capacity as the Commissioner of the Virginia Dep't of Motor Vehicles
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          Appellee            makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?         YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Maya M. Eckstein
        Signature: ____________________________________                     Date: ___________________
                                                                                       12/15/2021

                     Defendant-Appellee
        Counsel for: __________________________________




                                                      -
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                                        INTRODUCTION

              The Supreme Court has not decided “whether, in the absence of a final

        decision on the merits of a claim for permanent injunctive relief, the success in

        gaining a preliminary injunction may sometimes warrant an award of counsel fees.”

        Sole v. Wyner, 551 U.S. 74, 86 (2007). This Court has resolved that question,

        however. For two decades, the settled rule in this circuit has been that a plaintiff

        that obtains a preliminary injunction, but no final judgment, does not qualify as a

        “prevailing party” under 42 U.S.C. § 1988 (“Section 1988”). Smyth ex rel. Smyth v.

        Rivero, 282 F.3d 268 (4th Cir.), cert. denied, 537 U.S. 825 (2002).

              This case involves a fee dispute arising from a constitutional challenge to

        aspects of a Virginia statute requiring courts to suspend driver’s licenses of those

        who failed to pay their court debts. While the case was pending, a change in political

        leadership in the General Assembly led to repeal of the entire statutory scheme,

        mooting Plaintiffs’ challenge to certain provisions. As a result, the merits of their

        challenge were never litigated to final judgment, and Plaintiffs’ claims and

        Defendant’s defenses were left unresolved.1 Nonetheless, Plaintiffs seek to force

        Defendant to pay their fees; they claim to be “prevailing parties” because they




              1
                Because now-former DMV Commissioner Richard Holcomb has been
        replaced by Acting Commissioner Linda Ford, she is automatically substituted as
        Defendant-Appellee by operation of Federal Rule of Appellate Procedure 43(c)(2).


                                                  1
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        obtained a limited preliminary injunction in December 2018, more than a year before

        repeal.   Smyth precludes prevailing-party status in these circumstances, as a

        magistrate judge, the district court, and a panel of this Court all found.

              The issue now before the Court en banc is whether to abandon Smyth. Absent

        explicit statutory authority, should the Court reinterpret Section 1988 to allow

        plaintiffs who obtain a preliminary injunction, but never a final judgment, to be

        prevailing parties entitled to fees? It should not. Plaintiffs offer no good reason to

        change course, while numerous considerations counsel in favor of the Court’s

        existing approach. No intervening Supreme Court precedent undermines Smyth’s

        result or holdings. Although Winter v. Natural Resources Defense Council, Inc.,

        555 U.S. 7 (2008), clarified the standard for obtaining a preliminary injunction, that

        did not undercut Smyth’s reasoning. Smyth’s analysis turned on the tentative nature

        of preliminary injunctions and the necessarily abbreviated inquiry behind their

        entry—realities that were not affected by Winter.

              Smyth was rightly decided and remains consistent with Section 1988 and

        Supreme Court case law interpreting it. As Smyth reasoned, because a preliminary

        injunction inquiry does not produce a final judgment, involves only an “incomplete

        examination” of the merits, and is “necessarily abbreviated,” it is an insufficient

        basis to convey prevailing-party status. 282 F.3d at 276, 277 n.8. Indeed, this case

        exemplifies why skepticism about preliminary determinations is warranted: as later



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        developments showed, the incomplete record at the preliminary injunction stage

        gave a mistaken impression of Plaintiffs’ probability of success.

              Plaintiffs’ proffered reasons for abandoning Smyth are not compelling. As in

        Buckhannon, the fact that other circuits have adopted different rules should not move

        the Court.    Those other circuits’ rules are not uniform, nor would Plaintiffs

        necessarily qualify as prevailing parties under them. Plaintiffs also offer no evidence

        for their chief policy argument—that Smyth’s rule discourages civil rights plaintiffs

        from bringing litigation because of the possibility that, in the rare circumstance

        where a case becomes moot after entry of a preliminary injunction, they will end up

        footing their own bills.

              The Court should reaffirm Smyth.           But if the Court were sufficiently

        concerned that defendants are strategically mooting cases after losing preliminary

        injunctions, it could draw on precedent, in this circuit and beyond, to allow

        prevailing-party status where the defendant moots the case in response to the

        preliminary injunction. Plaintiffs would not qualify for fees even under that limited

        exception, however. As their own counsel recognized, § 46.2-395 was repealed due

        to changes in the General Assembly’s partisan makeup—not the preliminary

        injunction in particular or the litigation generally.

              Because Plaintiffs did not “prevail” here, the Court should affirm the

        decisions below and deny Plaintiffs’ fee petition.



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                                    STATEMENT OF THE CASE

              In Plaintiffs’ telling, the General Assembly repealed former § 46.2-395 in

        response to the preliminary injunction in an effort to moot Plaintiffs’ constitutional

        challenge to the statute and avoid paying legal fees. See generally Suppl. Opening

        Br. of Appellants [ECF No. 71] (“Suppl. Br.”). Plaintiffs’ recounting of the facts is

        far from accurate. They did not prevail in their challenge and the General

        Assembly’s repeal of former § 46.2-395 had nothing whatsoever to do with their

        lawsuit or the preliminary injunction.

              A.     Plaintiffs’ allegations are not facts.

              Plaintiffs’ recitation of the background, see Suppl. Br. at 6–22, suffers from

        the same flaw as their legal claim: contrary to their characterization, they never

        proved the allegations that they now pass off as facts. Nor did the preliminary

        injunction confirm their legal conclusions as if they became law of the case. Wright

        & Miller, 18B Fed. Prac. & Proc. Juris. § 4478.5 (3d ed.).

              Take, for example, their assertion that “driver’s license were automatically

        and indefinitely suspended by the Commissioner for failure to pay court debt that

        they could not afford.” Suppl. Br. at 6–7 (citing First Am. Compl.) (emphasis

        added). Or that “[f]or years, the Commissioner let [an] unconstitutional regime

        continue to deprive hundreds of thousands of Virginians of their dignity and the

        chance to raise themselves up from the vicious cycle of poverty.” Id. at 50 (citing



                                                  4
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        complaints). Their characterization of the Commissioner’s role is belied by the

        statutory language, which expressly places the power of suspension in the hands of

        the courts, not the Commissioner.       See, e.g., Va. Code Ann. § 46.2-395(B)

        (providing that “court[s] shall forthwith suspend”); id. § 46.2-395(C) (following a

        court’s suspension of driving privileges, the clerk of court was responsible for

        sending the “record of the person’s failure or refusal and of the license

        suspension . . . to the Commissioner”). Likewise unsupported is their allegation that

        “§ 46.2-395 authorized . . . suspensions without notice, a hearing, or consideration

        of Plaintiffs’ inability to pay.” Suppl. Br. at 1. See, e.g., Va. Code Ann. § 46.2-

        395(B) (public notice of suspension); id. § 46.2-395(C) (written notice); id. § 19.2-

        355(A) (opportunity to be heard by petitioning suspending court for payment plan);

        id. § 19.2-354 (opportunity to petition for forgiveness of debt).       Contrary to

        Plaintiffs’ apparent assumption, the Commissioner’s defenses from liability based

        on the actual operation of the statutory scheme were never definitely resolved.

              More basically, there is Plaintiffs’ constant refrain that § 46.2-395 was

        “unconstitutional.” See, e.g., Suppl. Br. at 33 (“the Commissioner fought to keep an

        unconstitutional statute in place”); id. at 34 (referring to “the unconstitutional

        operation of § 46.2-395); id. at 39 (“Plaintiffs were harmed by the unconstitutional

        application of § 46.2-395); see also id. at 6 (“Virginia denied Plaintiffs procedural

        due process.”). Simply asserting § 46.2-395’s unconstitutionality does not make it



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        any truer now than it was in Plaintiffs’ complaint.2 No court ever found that the

        statute violated the Constitution.        Although Plaintiffs certainly alleged the

        unconstitutionality of § 46.2-395, the case became moot before Plaintiffs could

        prove, or Defendant could disprove, those allegations.

               Much as Plaintiffs may think the “state ha[d] no hope of success,” Suppl. Br.

        at 49, we’ll never know—illustrating why prevailing-party status is not appropriate

        here. Buckhannon Bd. and Care Home, Inc. v. W. Va. Dep’t of Health, 532 U.S.

        598, 606 (2001) (prevailing-party status not available to plaintiffs who file a

        “nonfrivolous but nonetheless potentially meritless lawsuit (it will never be

        determined).” Having not prevailed, Plaintiffs are not entitled to their own version

        of the facts.

               B.       Plaintiffs did not prevail.

               With the preliminary injunction, Plaintiffs claim to have “won.” Suppl. Br. at

        1. In fact, the preliminary injunction gave only narrow, temporary relief to the

        named Plaintiffs only. Plaintiffs sought expansive relief in this suit that they never

        received—not even close. They demanded, among other things:


               2
                 Worse still is Plaintiffs’ misappropriation of Chief Judge Gregory’s
        observation, in his dissent from the decision dismissing their first appeal, that their
        previous complaint had described a “‘nightmarish spiral’ that trapped Plaintiffs.”
        Suppl. Br. at 50 (quoting Stinnie, 734 F. App’x at 864 (Gregory, C.J., dissenting)).
        Only Plaintiffs’ allegations were before the Court. His characterization of them
        does not mean that they were true.


                                                      6
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                  ● a declaratory judgment that now-repealed Virginia Code § 46.2-
                     395, “as written and as implemented,” was unconstitutional on
                     its face and as applied, and that the Commissioner had violated
                     their constitutional rights;

                  ● a preliminary and permanent injunction against § 46.2-395’s
                     enforcement as to the hundreds of thousands of drivers with
                     suspended licenses;

                  ● reinstatement (without fees) of those hundreds of thousands of
                     driver’s licenses; and

                  ● certification of a class of drivers whose licenses are suspended,
                     as well as a class of drivers whose licenses will be suspended in
                     the future.

        JA269 [First. Am. Compl. at 44]. By contrast, the district court’s preliminary

        injunction granted far more limited relief, and affected only the named Plaintiffs.

        Compare JA302 (proposed order) with JA843 (order). The Commissioner was

        required to “remove” the suspensions (i.e., merely alter DMV’s database to hide the

        courts’ suspensions of their licenses) of the three Plaintiffs with suspended licenses,

        had to “reinstate” their licenses without fees, and could not enforce § 46.2-395

        against the named Plaintiffs unless or until notice and hearing was provided.3 No

        court was ordered to vacate a suspension it had imposed.

              Thus, at the time the case was dismissed, Plaintiffs had received no

        declaratory judgment about the facial and as-applied constitutionality of § 46.2-395;


              3
                See JA843 & n.1 (“Until the Court determines ‘that final injunctive relief or
        corresponding declaratory relief is appropriate respecting the class as a whole,’ Fed.
        R. Civ. P. 23(b)(2), this Order applies only to named Plaintiffs . . . .”).


                                                  7
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        no preliminary and permanent injunction against § 46.2-395’s enforcement as to

        thousands of other drivers with suspended licenses; and no reinstatement of those

        thousands of other drivers’ licenses.       Plaintiffs also had not received a final

        determination on the merits of any of their claims. In fact, Defendant moved for

        summary judgment on the basis that the claims were meritless—a motion that

        remained pending at dismissal. JA942. Plaintiffs’ motion for class certification,

        which Defendant opposed, also remained pending.

              Plaintiffs’ “greatest wish” was “for this practice [of license suspension] to end

        and for the one million people to get their licenses back.” That was what they were

        “really asking for in the lawsuit.”4 The preliminary injunction did not give them

        what they were “really asking for,” as they informed the district court many months

        later: “Plaintiffs have not received the relief sought. . . . Plaintiffs’ ‘greatest wish,’

        in turn, has not been granted.” JA932. Their wish eventually came true, but only

        because the General Assembly repealed the statute, not because of the preliminary

        injunction or any order of the district court. See Buckhannon, 532 U.S. at 605 (noting

        that a “voluntary change in conduct, although perhaps accomplishing what the

        plaintiff sought to achieve by the lawsuit, lacks the necessary judicial imprimatur on

        the change”).


              4
               Katherine Knott, Northam Proposes End to Driver’s License Suspensions
        Over Court Fees, Daily Progress (Mar. 26, 2019), https://tinyurl.com/y3wamh5n.


                                                    8
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              C.     The General Assembly did not repeal § 46.2-395 because of the
                     preliminary injunction.

              Plaintiffs represent to the Court that the General Assembly repealed § 46.2-

        395 “[i]n recognition of the impact of the preliminary injunction.” Suppl. Br. at 6.

        Not so. Advocates (including the LAJC) had been lobbying the General Assembly

        for years (before the litigation, much less the preliminary injunction) to do away

        with license suspension. The district court preliminarily enjoined the statute in 2018,

        but the repeal occurred in 2020—after an election that changed the partisan makeup

        of the General Assembly. These facts provide critical context that Plaintiffs omit.

              As the Commissioner has previously shown, see ECF No. 24 [Br. of Appellee]

        (“Def.’s Br.”) at 9–18, the General Assembly’s repeal of § 46.2-395 was the

        culmination of growing public opposition, years of work by legislators and advocacy

        by many civil rights organizations, and—most significantly—the General

        Assembly’s changed political makeup after the 2019 election.5 Opposition to the

        license-suspension policy mounted for years. In the General Assembly’s 2017




              5
                  Plaintiffs’ co-counsel LAJC was among many groups across the country
        bringing public attention to the suspension of drivers’ licenses for failure to pay court
        debt. See, e.g., LAJC, Driven Deeper Into Debt: Unrealistic Repayment Options
        Hurt Low-Income Court Debtors (May 2016), https://tinyurl.com/yxo8xve3. LAJC
        also pursued an aggressive legislative strategy to “dump the automatic suspension
        policy.” Dean Seal, New law doesn’t put automatic driver’s license suspension
        issues     to     bed,    critics   say,   Daily      Progress     (June 29,      2017),
        https://tinyurl.com/y3k74239.


                                                   9
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        regular session, Governor McAuliffe proposed “limit[ing] the number of people

        whose driver’s licenses are suspended due to unpaid court costs,” criticizing § 46.2-

        395 not on constitutional grounds but on policy grounds: “Suspending people’s

        driver’s licenses limits their ability to work, which only makes it more difficult to

        earn the money to pay off their debt and build better lives.”6 The House of Delegates,

        controlled by the party opposite the Governor, opposed repeal efforts. House

        subcommittees declined to act on various measures that passed the Senate during the

        General Assembly’s 2017 and 2018 regular sessions.7 Def.’s Br. at 12–13.

              Nothing changed with entry of the preliminary injunction in December 2018.

        When the General Assembly convened for its 2019 regular session just a few weeks

        later, House subcommittees again declined to act on repeal measures that passed the

        Senate, including Senator Stanley’s repeal bill (S.B. 1013), which had won

        overwhelming approval in the Senate.8


              6
                Governor Terry McAuliffe delivers final State of the Commonwealth
        Address, WSLS 10 (Jan. 11, 2017), https://tinyurl.com/mr2k9btz.
              7
                   See Va.’s Legislative Info. Sys., 2017 Session, S.B. 1280,
        https://tinyurl.com/2v52hc66; Va.’s Legislative Info. Sys., 2018 Session, S.B. 181,
        https://tinyurl.com/4xawmmcw. Senator William Stanley’s repeal bill was among
        the LAJC’s top legislative priorities for 2018. LAJC, Our 2018 VA Legislative
        Priorities (Jan. 16, 2018), https://www.justice4all.org/2018/01/16/our-2018-va-
        legislative-priorities/.
              8
                    Va.’s Legislative Info. Sys., 2019 Session, S.B. 1013,
        https://tinyurl.com/tnm2jpj4. See also Mel Leonor, Northam wants to cease license


                                                 10
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              Because of the House subcommittee’s refusal to take any action during its

        regular session, Senator Stanley “went directly to [Governor] Northam to ask him to

        amend the budget to end the license suspension policy and force a vote of the full

        House on the proposal.” Id. Northam, himself a longtime opponent of the license-

        suspension policy, agreed. He proposed an amendment to the 2018–2020 budget

        that suspended the policy in the budget’s second year (July 1, 2019 to June 30, 2020).

        The amendment passed by wide margins in the House (70–29) and Senate (30–8).9

              Following the amendment’s adoption, the district court granted Defendant’s

        motion to stay the case pending the General Assembly’s 2020 session. In doing so,

        it noted the “shifting political winds” and the “political hostility towards § 46.2-

        395.” Stinnie v. Holcomb, 396 F. Supp. 3d 653, 658, 659 (W.D. Va. 2019) [JA948,

        950]. It reasoned that “if the General Assembly fails to repeal § 46.2-395, the Court

        will have ample time to address the merits of the case.” Id. at 661 [JA953].

              The district court never did “address the merits of the case,” however. The

        Governor’s party won a majority of House seats in the November 2019 general

        election, and assumed control of the subcommittees that previously declined to act




        suspensions for unpaid court fees, Richmond Times-Dispatch (Mar. 26, 2019),
        https://tinyurl.com/6wm3zb3a.
              9
                   Va.’s Legislative Info. Sys., 2019 Session, H.B. 1700, Summary,
        https://tinyurl.com/2rnhyvpj.


                                                 11
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        on the Senate’s repeal measures. Heading into the 2020 General Assembly session,

        Governor Northam identified eliminating the license-suspension requirement as

        among his top priorities.10 Multiple repeal bills were introduced, and Senator

        Stanley’s S.B. 1—a version of what he proposed in 2018 and 2019—

        overwhelmingly passed the House (75–25) and Senate (38–1) in February 2020, was

        signed into law in April 2020, and became effective July 1, 2020.11

              No one had to speculate why repeal succeeded when it had failed for years

        prior, and even after entry of the preliminary injunction. Plaintiffs’ counsel publicly

        stated what was obvious:

                     Stanley introduced similar legislation in the past two General
                     Assembly sessions that would have ended the suspension of
                     driver’s licenses due to court debt, but SB 1 is the first that has
                     not died in a Republican-led committee. [LAJC attorney Pat]
                     Levy-Lavelle attributed the bill’s success to the new makeup of
                     the General Assembly. “Last year and in previous years, the
                     leadership of the House Courts Committee was different and they
                     were able to stop what was frankly a common sense piece of
                     reform,” Levy-Lavelle said.12

        The press likewise understood that political reality. As one reporter explained,


              10
                 Governor Ralph Northam, Press Release, Governor Northam Delivers State
        of the Commonwealth Address (Jan. 8, 2020), https://tinyurl.com/bdzr7wje.
              11
                    See Va.’s Legislative        Info.   Sys.,     2020     Session,   S.B.   1,
        https://tinyurl.com/yw8p6bxm.
              12
                   Jimmy O’Keefe, Capital News Serv., Bill preventing license suspension
        over court debt unanimously passes Va. Senate (Feb. 12, 2020) (emphasis added),
        https://tinyurl.com/mrxcye4y.


                                                  12
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        “[Stanley’s] bill last year passed the Senate easily, but died in the House criminal

        laws subcommittee, long known for tough law-and-order stances and skepticism

        about any changes that seemed to ease sanctions on offenders. That subcommittee,

        however, was transformed when the new Democratic Party majority took control

        after last year’s election.”13

               This sequence of events undermines any conclusion that the preliminary

        injunction was what motivated the General Assembly to repeal § 46.2-395.

                                     SUMMARY OF ARGUMENT

               This Court’s unanimous, published decision in Smyth remains binding law in

        this circuit and precludes the conclusion that Plaintiffs are prevailing parties entitled

        to recover fees. The Court should affirm the district court’s denial of fees for three

        overarching reasons.

               First, Smyth has not been undermined by any intervening Supreme Court

        precedent. Smyth’s conclusion rested on the “necessarily abbreviated” inquiry

        entailed by a preliminary injunction and the “incomplete examination” of the merits

        involved. Winter did not change the nature of the inquiry; it only clarified the

        standard.




               13
                 Dave Ress, Va. licenses won’t be suspended for unpaid fines, The
        Virginian-Pilot (Feb. 28, 2020), https://tinyurl.com/5n8k5b87.


                                                   13
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              Second, Smyth is faithful to Section 1988 and Supreme Court case law

        interpreting it. Its bright-line approach promotes policy considerations important to

        determining fee availability. Congress has never stated explicitly, as would be

        required, that obtaining a preliminary injunction is sufficient to confer prevailing-

        party status. This case exemplifies the wisdom of Smyth’s approach.

              Third, Plaintiffs offer no compelling reason for abandoning Smyth. The fact

        that other circuits have adopted different approaches should not move the Court,

        especially given that, on the facts of this case, Plaintiffs would not be eligible for

        prevailing-party status under a number of other circuits’ tests.

               The Court should reaffirm Smyth. But if it were inclined to adopt a different

        rule out of concern for potential gamesmanship by a defendant, any concern could

        be allayed by a rule that allowed prevailing-party status only where the defendant

        moots the case in direct response to a preliminary injunction. Because Plaintiffs

        cannot satisfy such a test, prevailing-party status is still unavailable to them.

                                       LEGAL STANDARDS

              The Court “review[s] a district court's ‘prevailing party’ determination de

        novo.” Grabarczyk v. Stein, 32 F.4th 301, 306 (4th Cir. 2022). When moving for

        attorney’s fees, “the fee applicant bears the burden of establishing entitlement to an

        award . . . .” Hensley v. Eckerhart, 461 U.S. 424, 437 (1983).




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              Under the “American Rule” of fee liability, a “prevailing litigant is ordinarily

        not entitled to collect a reasonable attorneys’ fee from the loser.” Alyeska Pipeline

        Serv. Co. v. Wilderness Soc’y, 421 U.S. 240, 247 (1975). Courts do not depart from

        this rule absent “explicit statutory authority.” Buckhannon, 532 U.S. at 602 (quoting

        Key Tronic Corp. v. United States, 511 U.S. 809, 819 (1994)). Section 1988 is a

        departure from the American Rule in that it allows the “prevailing party” in a suit

        brought under § 1983 (among other statutes) “a reasonable attorney’s fee as part of

        the costs.” 42 U.S.C. § 1988(b); see also Buckhannon, 532 U.S. at 603 (“prevailing

        party” is “a legal term of art”). This departure is limited, however, to cases where

        “a party has prevailed on the merits of at least some of his claims.” Hanrahan v.

        Hampton, 446 U.S. 754, 758 (1980) (per curiam); see also Hewitt v. Helms, 482 U.S.

        755, 760 (1987) (“Respect for ordinary language requires that a plaintiff receive at

        least some relief on the merits of his claim before he can be said to prevail.”).

              In Buckhannon, the Supreme Court rejected “the ‘catalyst theory,’ which

        posits that a plaintiff is a ‘prevailing party’ if it achieves the desired result because

        the lawsuit brought about a voluntary change in the defendant’s conduct.”

        Buckhannon, 532 U.S. at 601. Rather, to attain prevailing-party status, a plaintiff’s

        merits victory must have “the necessary judicial imprimatur.” Id. at 604. For

        instance, “enforceable judgments on the merits and court-ordered consent decrees

        create the ‘material alteration of the legal relationship of the parties’ necessary to



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        permit an award of attorney’s fees.” Id. (quoting Tex. State Teachers Ass’n v.

        Garland Indep. Sch. Dist., 489 U.S. 782, 792–93 (1989) (punctuation omitted). By

        contrast, a “defendant’s voluntary change in conduct, although perhaps

        accomplishing what the plaintiff sought to achieve by the lawsuit, lacks the

        necessary judicial imprimatur.” Id.        The term “prevailing party” does not

        characterize “a plaintiff who, by simply filing a nonfrivolous but nonetheless

        potentially meritless lawsuit (it will never be determined), has reached the ‘sought-

        after destination’ without obtaining any judicial relief.” Id. at 606.

                A plaintiff “who secure[s] a permanent injunction” may be a prevailing party.

        Lefemine v. Wideman, 568 U.S. 1, 2 (2012). But “[p]revailing party status . . . does

        not attend achievement of a preliminary injunction that is reversed, dissolved, or

        otherwise undone by the final decision in the same case.” Sole v. Wyner, 551 U.S.

        74, 83 (2007). Such an “initial victory” is “ephemeral.” Id. at 86. Thus, a “plaintiff

        who achieves a transient victory at the threshold of an action can gain no award

        under [§ 1988(b)] if, at the end of the litigation, her initial success is undone and she

        leaves the courthouse emptyhanded.” Id. at 78. Rather, the court-ordered “‘change

        in the legal relationship’ between [the plaintiff] and the state officials she sued” must

        be “enduring.” Id. at 86 (quoting Tex. State Teachers Ass’n, 489 U.S. at 792 (cleaned

        up)).




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                                            ARGUMENT

        I.    Smyth has not been undermined by intervening Supreme Court
              precedent.

              Plaintiffs have never disputed that, if it applies, Smyth controls this appeal and

        deprives them of prevailing-party status. Indeed, Smyth is factually on all fours with

        this case, and its reasoning is dispositive.

              Thus, to pursue fees, Plaintiffs argue that Smyth should be reversed. Their

        primary argument is that the Supreme Court’s clarification of the preliminary-

        injunction standard in Winter v. Natural Resources Defense Council, Inc., 555 U.S.

        7 (2008), fatally undermines the reasoning of Smyth. 14 As the district court and a

        panel of this Court recognized, however, that argument is meritless. JA1262; ECF

        No. 52 [“Slip op.”] at 8–9. Because the result in Smyth rested on the nature of the

        preliminary injunction inquiry, rather than on a specific preliminary injunction

        standard, Winter did not undercut its analysis. And, in any event, Smyth anticipated

        and applied the standard that Winter adopted.



              14
                 Until now, Plaintiffs had also argued that Lefemine v. Wideman, 568 U.S. 1
        (2012) (per curiam), rendered Smyth “outdated.” ECF No. 55 [Pet. for Rehr’g En
        Banc] at 7 n.2, 9. They appear now to have abandoned that argument, and sensibly
        so. Lefemine’s conclusion that permanent injunctive relief is sufficient to confer
        prevailing-party status, 568 U.S. at 2, does not undermine Smyth’s holding that
        preliminary injunctive relief is not, 282 F.3d at 277 (citing the “preliminary,
        incomplete nature of the merits examination”). Plaintiffs’ argument that Lefemine
        “clarified” when a plaintiff is a prevailing party also failed because the standard
        applied there had been in use for decades. Slip op. at 10.


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              A.     Smyth recognized the inherently tentative nature of preliminary
                     injunctions and the abbreviated nature of the preliminary
                     injunction inquiry.

              Plaintiffs do not dispute that Smyth controls the outcome here and is factually

        indistinguishable. In both cases:

                      the district court found that plaintiffs were likely to succeed
                       on a single claim challenging the constitutionality of a
                       Virginia governmental policy, and therefore granted a
                       preliminary injunction;15

                      the case was later dismissed as moot, with no further relief
                       having been granted;16

                      the plaintiffs sought fees by insisting that the preliminary
                       injunction was a judgment “on the merits”;17 and

                      the plaintiffs claimed that obtaining a preliminary injunction
                       conferred prevailing-party status.18


              15
                  Compare Smyth v. Carter, 168 F.R.D. 28, 31 (W.D. Va. 1996) (“plaintiffs
        will likely succeed on the merits”), with Stinnie, 355 F. Supp. 3d at 520 [JA820]
        (“Plaintiffs are likely to succeed on the merits of their procedural due process
        claim . . . .”).
              16
                 Compare Smyth v. Carter, 88 F. Supp. 2d 567 (W.D. Va. 2000); Smyth, 282
        F.3d at 273, with JA1017.
              17
                  Compare Smyth, 282 F.3d at 275 (“The preliminary injunction entered by
        the district court is sufficient, they assert, to constitute an enforceable judgment on
        the merits.”) (citation omitted and punctuation altered), with Suppl. Br. at 12
        (emphasizing that the district court’s determination was “on the merits”), 22
        (Plaintiffs “attained merits-based injunctive relief”).
              18
                 Compare Smyth, 2000 WL 1567168, at *5 (preliminary injunction
        “materially altered the legal relationship between the parties by modifying the
        defendant’s behavior in a way that directly benefitted the plaintiff”), with Suppl. Br.


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        The chief difference between the cases is that the district court in Smyth accepted the

        plaintiffs’ argument, while the district court here rejected it.

               In Smyth, a unanimous panel of this Court reversed the district court’s

        decision, finding that it had “erred in characterizing [the plaintiffs] as prevailing

        parties and granting them attorney’s fees on that basis.” 282 F.3d at 285. The Court

        rejected the plaintiffs’ assertion that “the preliminary injunction they were awarded

        . . . effected the ‘material alteration of the legal relationship of the parties’ necessary

        to permit an award of attorney’s fees” and that it was “sufficient . . . to constitute an

        ‘enforceable judgment[ ] on the merits.’” 282 F.3d at 274–75 (quoting Buckhannon,

        532 U.S. at 604 (punctuation altered and quotation omitted)).

               The Court’s conclusion rested on the nature of the preliminary injunction

        inquiry. As it explained, “[w]hile granting such an injunction does involve an

        inquiry into the merits of a party’s claim, and is, like any court order, ‘enforceable,’

        the merits inquiry in the preliminary injunction context is necessarily abbreviated.”

        Id. at 276 (citation omitted). Thus, a “district court’s determination that such a

        showing [of likelihood of success on the merits] has been made is best understood

        as a prediction of a probable, but necessarily uncertain, outcome.” Id. “The fact that

        a preliminary injunction is granted in a given circumstance . . . by no means



        at 22 (arguing that the preliminary injunction “materially altered” the relationship
        among the parties).


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        represents a determination that the claim in question will or ought to succeed

        ultimately; that determination is to be made upon the ‘deliberate investigation’ that

        follows the granting of the preliminary injunction.” Id. Thus, it held, because of

        “the preliminary, incomplete examination of the merits involved,” a preliminary

        injunction conclusion “is ill-suited to guide the prevailing party determination.” Id.

        at 277 n.8.

              The Supreme Court refused the plaintiffs’ petition for certiorari, 537 U.S. 825

        (2002), leaving Smyth as settled precedent in this circuit for twenty years. The Court

        continues to rely on it to guide decisions in other cases. See, e.g., Ge v. United States

        Citizenship & Immigr. Servs., 20 F.4th 147, 154 (4th Cir. 2021) (using Smyth as

        guidepost in determining that a remand order did not confer prevailing-party status).

              B.      Winter did not undermine Smyth’s viability.

              Plaintiffs posit that the Supreme Court’s clarification of the preliminary-

        injunction standard in Winter effectively superseded Smyth, eliminating its bright-

        line rule and opening the floodgates to fees. In other words, despite that the Supreme

        Court had expressly left open in Sole the question whether “success in gaining a

        preliminary injunction may sometimes warrant an award of counsel fees,” 551 U.S.




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        at 86, Plaintiffs make the questionable claim that Winter implicitly settled that issue

        for this circuit.19

               Plaintiffs are wrong. Winter did not undercut Smyth for two reasons: first,

        Smyth’s reasoning turned on the nature of preliminary injunctions, not the precise

        standard for obtaining one; and second, Smyth anticipated and applied the likelihood-

        of-success standard recognized in Winter.

                      1.       Smyth’s reasoning relied on the nature of preliminary
                               injunctions, not the standard for obtaining one.

               Plaintiffs’ argument boils down to the contention that the “Winter standard

        [for obtaining a preliminary injunction] is more stringent than the previous . . .

        standard” as set forth in Blackwelder Furniture Co. of Statesville, Inc. v. Seilig Mfg.

        Co., 550 F.2d 189 (4th Cir. 1977). Suppl. Br. at 28; see also id. at 27 (“When this

        court decided Smyth the preliminary injunction standard involved an abbreviated

        merits analysis, but that is no longer the case.” (emphasis omitted)). They therefore

        assume that Smyth must no longer be good law. Not so. As the panel recognized,

        Smyth “primarily turned on the nature of preliminary injunctions – which remains

        unchanged – not the standard for obtaining a preliminary injunction.” Slip op. at 8

        (emphasis in original).


               19
                 Cf. Agostini v. Felton, 521 U.S. 203, 230–31 (1997) (explaining that lower
        courts should not conclude that the Supreme Court’s “more recent cases have, by
        implication, overruled [its] earlier precedent”).


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              Indeed, in Smyth the Court acknowledged the criticisms of Blackwelder, but

        expressly noted that they did not matter to the prevailing-party determination:

                     Our Circuit’s current framework for the preliminary
                     injunction inquiry, specifically the establishment of the
                     “analytical order, hierarchy of importance, . . .
                     comparative weights,” and the intertwining of
                     consideration of the factors in our prior cases has been
                     criticized as a departure (in form if not necessarily in
                     practice) from Supreme Court precedent. Safety–Kleen,
                     Inc. [v. Wyche], 274 F.3d [846,] 868–70 [(4th Cir. 2001)]
                     (Luttig, J., concurring). Whatever the merits of this
                     argument, it does not alter our conclusion here.

        Smyth, 282 F.3d at 277 n.8 (emphasis added); see also JA1263 n.2 (district court’s

        acknowledgement of the impact of the bolded language).              Rather, this Court

        explained, its reasoning was based not on the preliminary injunction standard, but

        on the inherently “preliminary” nature of the merits inquiry. The “preliminary

        injunction inquiry, because of the preliminary, incomplete examination of the merits

        involved and the incorporation (if not the predominance) of equitable factors, is ill-

        suited to guide the prevailing party determination regardless of how it is

        formulated.” Id. (emphasis added).       As the district court recognized, “[t]his

        statement is just as true of the Winter inquiry as it is of the Blackwelder one.”

        JA1263. Footnote 8 of the Smyth decision shows that Plaintiffs’ focus on the

        Blackwelder/Winter distinction is misplaced.          Whatever the standard, the

        preliminary injunction inquiry produces only “a prediction of a probable, but

        necessarily uncertain, outcome,” not “a determination that the claim in question will


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        or ought to succeed ultimately.” 282 F.3d at 277 n.8; see also Slip op. at 9 (agreeing

        that Winter “did not change the[] realities” of the preliminary injunction inquiry).

                      2.    Smyth anticipated and applied the likelihood-of-success
                            standard recognized in Winter.

              Plaintiffs are mistaken in a critical regard when they state that “Smyth was

        decided under the pre-Winter standard.” Suppl. Br. at 28. Smyth acknowledged,

        accounted for, and applied the likelihood-of-success standard that Winter

        recognized.

              According to Plaintiffs, “[t]he Winter requirement that the plaintiff clearly

        demonstrate that it will likely succeed on the merits is far stricter than the

        Blackwelder requirement that the plaintiff demonstrate only a grave or serious

        question for litigation.” Id. at 29 (citation omitted). But Smyth’s holding did not

        turn on the applicability of the “substantial question” standard. While this Court

        recognized that in some circumstances “a plaintiff may . . . need only establish that

        his case presents a ‘substantial question’ to obtain a preliminary injunctive relief,”

        Smyth, 282 F.3d at 276, it expressly acknowledged a higher standard too:

                      At the most, a party seeking a preliminary injunction may
                      have to demonstrate a strong showing of likelihood of
                      success or a substantial likelihood of success by clear
                      and convincing evidence in order to obtain relief. A
                      district court’s determination that such a showing has
                      been made is best understood as a prediction of a probable,
                      but necessarily uncertain, outcome.




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        Id. (internal citation and punctuation omitted) (emphasis added). Indeed, the district

        court in Smyth even applied that likelihood-of-success standard, finding that

        “plaintiffs will likely succeed on the merits.” Smyth, 168 F.R.D. at 31. Plaintiffs

        are therefore simply incorrect that Winter’s “more stringent” standard undermined

        Smyth, Suppl. Br. at 28, because the Fourth Circuit accounted for the standard that

        Winter later imposed, see JA1262 (district court noting that Smyth “acknowledged

        that some preliminary injunctions involved a showing on the merits nearly identical

        to—or even stronger than—the one the Supreme Court later articulated in Winter”).

              Thus, even if Plaintiffs were correct to pronounce Smyth’s bright-line rule

        “dictum,” to the extent the opinion went “beyond what was necessary to decide the

        case,” Suppl. Br. at 30, Smyth would still be dispositive here. Indeed, their reading

        suggests that the Court can limit the reach of Smyth without overturning it altogether.

        Regardless whether a bright-line rule should preclude some plaintiffs from being

        prevailing parties in other factual circumstances involving preliminary injunctions,

        see Part III.A infra (discussing other circuits’ approaches allowing prevailing-party

        status in certain contexts), Smyth controls at least in the circumstances raised by

        Plaintiffs here. Facing substantially identical facts as this case, and applying the

        likelihood-of-success standard Plaintiffs insist is now required, the Court had no

        trouble concluding that Plaintiffs were not prevailing parties. Nothing has changed

        to warrant a different conclusion.



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        II.   Smyth remains correctly decided.

              A.     Smyth is consistent with Section 1988 and Supreme Court case law
                     interpreting it.

              Far from “hopelessly frustrating Congress’[s] intent in passing Section 1988”

        as Plaintiffs claim, Suppl. Br. at 33, the Smyth approach is fully consistent with the

        meaning of “prevailing party” under Section 1988.

              First, a preliminary injunction is not a final judgment. When Section 1988

        was enacted in 1976, a “prevailing party” was understood to be “[t]he party

        ultimately prevailing when the matter is finally set at rest”—a determination not

        depending on “the degree of success at different stages of the suit.” “Prevailing

        Party,” Black’s Law Dictionary 1352 (rev. 4th ed. 1968) (citing cases). Indeed, the

        Supreme Court has observed that “legal holdings en route to a final judgment” are

        “not the stuff of which legal victories are made.” Hewitt, 482 U.S. at 760, 762; see

        also Hanrahan, 446 U.S. at 759 (denying fees for interim success; noting a “jury

        may or may not decide some or all of the issues in [their] favor”). To be a prevailing

        party requires more than bringing “a nonfrivolous but nonetheless potentially

        meritless lawsuit (it will never be determined).” Buckhannon, 532 U.S. at 606.

        Rather, the touchstone is achieving actual “resolution of [a] dispute,” Tex. State

        Teachers Ass’n, 489 U.S. at 792—an “absolute limitation,” id., and one that a

        preliminary injunction does not provide.




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              Here, Plaintiffs “never obtained a final judgment on the merits.” Slip op. at

        11. The preliminary injunction had only a “tentative character, in view of the

        continuation of the litigation to definitely resolve the controversy.” Sole, 551 U.S.

        at 84. It was at most “a prognosis of probable or possible success. It in no way

        sought to announce or establish a final result.” Smith v. Univ. of N. Carolina, 632

        F.2d 316, 347 (4th Cir. 1980).      Thus, the Smyth rule does not conflict with

        Grabarczyk v. Stein, where fees were allowed to a plaintiff who “won a final

        judgment on the merits” before the case was mooted. 32 F.4th at 310. Nor is it

        inconsistent with Reyazuddin v. Montgomery Cty., where the plaintiff was “a

        prevailing party because she proved her claim to a jury.” 988 F.3d 794, 798 (4th

        Cir.), cert. denied, 142 S. Ct. 389 (2021). Indeed, as the Court observed there, had

        the defendant mooted the case before Reyazuddin “proved” a legal violation, that

        would be precisely the sort of case the Supreme Court has held ineligible for fees

        under Section 1988. Id. (“[T]hat would be a classic catalyst theory case[.]”).

              Second, a “prevailing party” must succeed “on the merits,” Hanrahan, 446

        U.S. at 758—not merely obtain a favorable prediction of the merits, Smyth 282 F.3d

        at 277 n.8 (preliminary injunction “is best understood as a prediction of a probable,

        but necessarily uncertain, outcome”). A preliminary injunction is not “a final

        judicial decision based on the actual merits of the controversy,” Univ. of Tex.

        v. Camenisch, 451 U.S. 390, 396 (1981), and to “equate[] ‘likelihood of success’



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        with ‘success’” would be “improper,” id. at 394. Thus, Smyth was right to note that,

        although preliminary injunction proceedings involve a “preliminary, incomplete

        examination of the merits,” Smyth 282 F.3d at 277 n.8, they generally do not resolve

        them.20 Rather, as here, a preliminary injunction is a non-binding prediction of the

        outcome of the merits determination, which is made merely to “preserve the relative

        positions of the parties until a trial on the merits can be held.” Camenisch, 451 U.S.

        at 395–96. See also Pashby v. Delia, 709 F.3d 307 (4th Cir. 2013) (“‘The traditional

        office of a preliminary injunction is to protect the status quo and to prevent

        irreparable harm during the pendency of a lawsuit ultimately to preserve the court’s

        ability to render a meaningful judgment on the merits.’” (citation omitted)). Thus,

        it is for good reason that “findings of fact and conclusions of law made by a court

        granting a preliminary injunction are not binding at trial on the merits.” Camenisch,

        451 U.S. at 395. Accord Wright & Miller, 18B Fed. Prac. & Proc. Juris. § 4478.5

        (3d ed.) (“Rulings—predictions—as to the likely outcome on the merits made for

        preliminary injunction purposes do not ordinarily establish the law of the case.”).




              20
                 While “it is generally inappropriate for a federal court at the preliminary-
        injunction stage to give a final judgment on the merits,” Camenisch, 451 U.S. at 395,
        Federal Rule of Civil Procedure 65(a)(2) provides for a mechanism, in the
        exceptional case, to consolidate a preliminary injunction hearing with a trial on the
        merits. No such consolidation occurred here.


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              Third, as Smyth recognized, the “necessarily abbreviated” and “incomplete”

        nature of preliminary injunction proceedings makes them “ill-suited to guide the

        prevailing-party determination.” 282 F.3d at 276, 277 n.8. “In short, where a federal

        district court has granted a preliminary injunction, the parties generally will [not]

        have had the benefit . . . of a full opportunity to present their cases . . . .” Camenisch,

        451 U.S. at 396. As was true in this case, discovery usually has not occurred.

        Moreover, “given the haste that is often necessary” to resolve a preliminary

        injunction motion, “a preliminary injunction is customarily granted on the basis of

        procedures that are less formal and evidence that is less complete than in a trial on

        the merits.” Id. at 395–96; see also id. at 394 (noting “significant procedural

        differences between preliminary and permanent injunctions”).                     Because

        “preliminary injunction proceedings are informal ones designed to prevent

        irreparable harm before a later trial governed by the full rigor of usual

        evidentiary standards,” even “hearsay or other inadmissible evidence” may be

        considered. G.G. ex rel. Grimm v. Gloucester Cty. Sch. Bd., 822 F.3d 709, 725–26

        (4th Cir. 2016), vacated and remanded on other grounds, 137 S. Ct. 1239 (2017).21


              21
                 Plaintiffs benefited from that lower evidentiary standard here. See Prelim.
        Inj. Hr’g Tr. at 14:14–18 (Nov. 15, 2018), Stinnie v. Holcomb, No. 3:16-cv-00044
        (W.D. Va.), ECF No. 201-8 (“[Counsel for Defendant]: Considering that this is a
        motion for preliminary injunction, we’ve stipulated that the documentary evidence
        can be entered to the Court without need to go through hearsay exceptions and so on
        and so forth.”).


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        The risk of error in preliminary injunction proceedings is so inherent that Federal

        Rule of Civil Procedure 65(c) requires the “giving of security” to guard against

        damages the enjoined party may suffer. This requirement “is rooted in the belief

        that a defendant deserves protection against a court order granted without the full

        deliberation a trial offers.” Camenisch, 451 U.S. at 397 (quotation omitted).

                For these reasons, Smyth’s bright-line rule is consistent with Section 1988.

        “Congress is free, of course, to revise” Section 1988 to allow fees based on a

        preliminary injunction or on the mere “substantial likelihood” of prevailing.

        Buckhannon, 532 U.S. at 621 (Scalia, J., concurring). But it has not provided the

        “explicit statutory authority” that would be required to do so. Id. at 602 (majority

        op.).

                B.    Smyth advances important policy considerations recognized by the
                      Supreme Court.

                Plaintiffs anticipate, and reject out-of-hand, multiple policy considerations

        that support this Court’s approach in Smyth. See Suppl. Br. at 48. They fail to

        appreciate that these are considerations that the Supreme Court has stated are

        important in determining fee eligibility.

                      1.     Simplicity favors Smyth’s bright-line approach.

                A key advantage of Smyth over the “fact-specific standards” of other circuits,

        Dearmore v. City of Garland, 519 F.3d 517, 521 (5th Cir. 2008), is clarity and ease

        of application. The Supreme Court has long been concerned about the “judicial


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        administration of § 1988” with respect to “defining the term ‘prevailing party.’”

        Tex. State Teachers Ass’n, 489 U.S. at 791. Smyth’s bright-line approach is easily

        administrable. While Plaintiffs deride the need for clear standards, Suppl. Br. at 48,

        that concern motivated the outcome in Buckhannon. There, the Supreme Court

        rejected a proposed “nuanced” approach to determining whether a party had

        prevailed because it was “clearly not a formula for ‘ready administrability,’” 532

        U.S. at 610.

              Similarly, Smyth respects the principle that a “request for attorney’s fees

        should not result in a second major litigation.” Hensley v. Eckerhart, 461 U.S. 424,

        437 (1983). The Supreme Court has warned against “unstable threshold[s] to fee

        eligibility,” which would be “sure to provoke prolonged litigation, thus deterring

        settlement of fee disputes and ensuring that the fee application will spawn a second

        litigation of significant dimension.” Tex. State Teachers Ass’n, 489 U.S. at 791.

        Accordingly, Buckhannon rejected a standard for fee liability that, like some other

        circuits’ rules, “would require analysis of the defendant’s subjective motivations in

        changing its conduct.” 532 U.S. at 609.

                       2.    Smyth gives government defendants needed flexibility to
                             respond to challenges.

              Fixing plaintiffs’ fee eligibility (and therefore government defendants’

        exposure) according to Smyth’s bright-line rule also allows defendants to strike an

        informed balance in carrying out their dueling obligations to defend challenged


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        policies and yet to preserve the public fisc.            As Buckhannon recognized,

        “defendants’ potential liability for fees in this kind of litigation can be as significant

        as, and sometimes even more significant than, their potential liability on the

        merits.” Id. at 608 (quoting Evans v. Jeff D., 475 U.S. 717, 734 (1986)).

        Understandably, that liability—especially when the bounds of it are uncertain—

        could dissuade government officials from taking steps to alter challenged policies.

        Indeed, as with the catalyst theory rejected in Buckhannon, Plaintiffs “discount the

        disincentive that” such a rule would “have upon a defendant’s decision to voluntarily

        change its conduct, conduct that may not be illegal.” Id.

              Plaintiffs fail to engage with these concerns and the role in which government

        defendants find themselves.        According to Plaintiffs, the “overriding . . .

        consideration” of “doing the right thing” always means “not . . . defending an

        unconstitutional statute.”22 But that formulation assumes that the plaintiff is always

        right. This standard is pure question-begging when the suit is to determine whether

        the statute is constitutional. It excludes the possibility of earnest disagreement on

        the constitutionality of statutes. And it gives unduly short shrift to the obligation of



              22
                 Suppl. Br. at 49. Cf. LAJC, Press Release: Virginia Office of the Attorney
        General Undermines Critical Opportunity to Make Driver’s License Suspension
        Permanent (Apr. 24, 2019) (criticizing the Attorney General’s motion to dismiss and
        stay the litigation as “abdicati[on of] his responsibility to stop unconstitutional
        practices”), https://tinyurl.com/492wn6w9.


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        government officials to defend the laws enacted by the people through their elected

        representatives unless the conclusion of unconstitutionality is utterly inescapable.

        An unpredictable, context-specific rule (unlike Smyth’s) would hinder defendants in

        evaluating the potential tradeoffs in amending a law or changing a policy—such as

        where, as here, a policy may be unpopular in some quarters but nonetheless lawful.

                     3.     Smyth avoids prolonged litigation to avoid fee liability.

              Abandoning Smyth would create the “perverse incentives” Plaintiffs

        themselves fear. Suppl. Br. at 47. Because “the possibility of being assessed

        attorney’s fees may well deter a defendant from altering its conduct,” Buckhannon,

        532 U.S. at 608, the specter of uncertain fee liability would influence litigation

        strategy in unconstructive ways. “It is . . . not implausible to anticipate that parties

        to a significant number of civil rights cases will refuse to settle if liability for

        attorney’s fees remains open, thereby forcing more cases to trial, unnecessarily

        burdening the judicial system, and disserving civil rights litigants.” Evans, 475 U.S.

        at 736–37.      Defendants would be incentivized to appeal every preliminary

        injunction, and otherwise prolong litigation, to avoid fee liability. Indeed, States

        have noted that being required to pay fee awards for preliminary injunctions has

        taught the following lesson: “[E]ven if the public interest might otherwise be best




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        served by a legislative fix, [a state] should litigate to the bitter end if it wants to

        protect the public fisc.”23

              C.      This case exemplifies the wisdom of the Smyth approach.

              This case itself demonstrates that a preliminary injunction is an unreliable

        basis for conferring prevailing-party status. In issuing the preliminary injunction,

        the district court had neither a well-developed factual record nor analogous case law

        to guide its decision. As the case proceeded, both developed decisively against

        Plaintiffs. See Def.’s Br. at 37–42.

              First, the limited “facts from the preliminary injunction record” on which the

        district court based its ruling, Stinnie v. Holcomb, 355 F. Supp. 3d 514, 520 (W.D.

        Va. 2018) [JA821], did not hold up to scrutiny in discovery (which began only after

        the preliminary injunction hearing):

                    testimony by Plaintiffs’ witnesses supporting the court’s subject-matter
                     jurisdiction turned out to be unreliable and irrelevant, Def.’s Br. at 37–
                     39 & n.36;

                    documents revealed that, contrary to Plaintiffs’ suggestion at the
                     preliminary injunction stage, the named Plaintiffs did receive notices of
                     suspension from the courts, id. at 39; and

                    discovery showed that Plaintiffs entered into alternative payment
                     arrangements with court approval, belying any claim that they had no
                     opportunity to be heard on their ability to pay their debts, id.



              23
                Br. of Georgia [et al.] as Amici Curiae Supporting Pet’rs at 17, Yost v.
        Planned Parenthood Sw. Ohio Region, No. 19-677 (U.S. Dec. 26, 2019).


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        These facts, among others, undermined the bases for the injunction.

              Second, as the case progressed, it became clear that the law also disfavored

        Plaintiffs’ position. When the district court predicted Plaintiffs’ likelihood of

        success on the merits, the most analogous case available was Fowler v. Johnson, No.

        CV-17-11441, 2017 WL 6379676 (E.D. Mich. Dec. 14, 2017), a due-process

        challenge to Michigan’s license-suspension statute, where the court granted a

        preliminary injunction based on the likelihood of success. See Stinnie, 355 F. Supp.

        3d at 531–32 & n.9 [JA840–41 & n.9]. Six months after issuance of the preliminary

        injunction here, however, the Sixth Circuit reversed the injunction ruling in Fowler.

        Fowler v. Benson, 924 F.3d 247, 264 (6th Cir. 2019). It reversed for the same

        reasons the Commissioner continued to press here until the case became moot. See

        Def.’s Br. at 41. Many decisions in license-suspension cases uniformly supportive

        of the Commissioner’s position have since followed.24

              Thus, contrary to the district court’s initial prediction, Plaintiffs were unlikely

        to prevail if the merits of their claims had been adjudicated. Smyth’s approach


              24
                  See, e.g., Robinson v. Long, 814 F. App’x 991 (6th Cir. 2020); Motley v.
        Taylor, 451 F. Supp. 3d 1251 (M.D. Ala. 2020), aff’d, No. 20-11688, 2022 WL
        1506971 (11th Cir. May 12, 2022); Mendoza v. Garrett, No. 3:18-CV-01634-HZ,
        2019 WL 2251290 (D. Or. May 16, 2019), appeal pending, No. 19-35506 (9th Cir.
        filed June 11, 2019); White v. Shwedo, No. 2:19-CV-3083-RMG, 2020 WL 2315800
        (D.S.C. May 11, 2020); Johnson v. Jessup, 381 F. Supp. 3d 619 (M.D.N.C. 2019).
        Plaintiffs have not identified a single contrary decision by a federal court of appeals,
        nor is the Commissioner aware of any.


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        properly recognizes that a district court’s good-faith, but ultimately mistaken,

        prediction about a plaintiff’s probability of success should not confer prevailing-

        party status.

        III.   Plaintiffs’ other reasons for departing from Smyth are unconvincing.

               A.       Other circuits’ approaches are not persuasive or uniform.

               Without a convincing argument that Smyth has been undermined by Winter

        (or any other intervening Supreme Court precedent), Plaintiffs search for support in

        other circuits. Suppl. Br. at 26, 34–38. What they find—a mix of approaches, under

        which they would not always be prevailing parties themselves—does not support

        departing from Smyth.

                        1.    Buckhannon teaches that this Court need not follow other
                              circuits’ approach to fee eligibility.

               The Court should resist Plaintiffs’ pressure campaign to abandon well-

        reasoned precedent merely because other circuits have resolved differently a

        question the Supreme Court has expressly left open. Sole, 551 U.S. at 86. When

        this Court has staked out a minority position on fee-entitlement issues before, that

        position has been vindicated. Before Buckhannon, this Court was unique among the

        circuit courts in rejecting the catalyst theory of fee liability. “[M]ost Courts of

        Appeals recognize[d]” it. 25


               25
                See 532 U.S. at 602 & n.3 (citing Stanton v. S. Berkshire Reg’l Sch. Dist.,
        197 F.3d 574, 577, n.2 (1st Cir. 1999); Marbley v. Bane, 57 F.3d 224, 234 (2d Cir.


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              But that lopsided line-up made no difference to the Supreme Court. It

        endorsed this Court’s decidedly outlier decision.         See id. at 621 (Scalia, J.,

        concurring) (“[D]isagreeing with a ‘clear majority’ of the Circuits is not at all a rare

        phenomenon.       Indeed, our opinions sometimes contradict the unanimous and

        longstanding interpretation of lower federal courts.”).

                     2.     Other circuits’ tests are not uniform, nor would Plaintiffs
                            prevail under all of them.

              Plaintiffs characterize the other circuits’ approaches to this issue as “unified

        and consistent.” Suppl. Br. at 30. But while they each allow prevailing-party status

        in certain circumstances, a review of Plaintiffs’ cited cases shows that those

        circumstances vary widely. Indeed, “[w]ithout a Supreme Court decision on point,

        circuit courts considering this issue have announced fact-specific standards that are

        anything but uniform.” Dearmore v. City of Garland, 519 F.3d 517, 521 (5th Cir.

        2008). Contrary to Plaintiffs’ characterization, there is no one “approach taken in

        all of the other circuits.” Suppl. Br. at 48. And while Plaintiffs would be considered




        1995); Baumgartner v. Harrisburg Hous. Auth., 21 F.3d 541, 546–50 (3d Cir. 1994);
        Payne v. Board of Ed., 88 F.3d 392, 397 (6th Cir. 1996); Zinn v. Shalala, 35 F.3d
        273, 276 (7th Cir. 1994); Little Rock Sch. Dist. v. Pulaski Cty. Sch. Dist., # 1, 17
        F.3d 260, 263, n.2 (8th Cir. 1994); Kilgour v. Pasadena, 53 F.3d 1007, 1010 (9th
        Cir. 1995); Beard v. Teska, 31 F.3d 942, 951–52 (10th Cir. 1994); Morris v. W. Palm
        Beach, 194 F.3d 1203, 1207 (11th Cir. 1999)).


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        prevailing parties under the standards of some cases they cite,26 they are wrong to

        represent that in “every other circuit Plaintiffs would have been deemed prevailing

        parties.” Suppl. Br. at 2.

              The Third Circuit comes closest to Smyth’s bright-line approach, and

        Plaintiffs would not be prevailing parties there. In that circuit, a qualifying “merits-

        based” determination “may not be merely a finding of a likelihood of success on the

        merits.” Singer Mgmt. Consultants, Inc. v. Milgram, 650 F.3d 223, 230 n.4 (3d Cir.

        2011) (en banc). See id. at 229 (explaining that “the ‘merits’ requirement is difficult

        to meet in the context of TROs and preliminary injunctions, as the plaintiff in those

        instances needs only to show a likelihood of success on the merits (that is, a

        reasonable chance, or probability, of winning) to be granted relief.”). The Third

        Circuit explained that, because “this ‘probability’ ruling is usually the only merits-

        related legal determination made when courts grant TROs and preliminary

        injunctions, it follows that parties will not often ‘prevail’ based solely on those




              26
                See Haley v. Pataki, 106 F.3d 478 (2d Cir. 1997); Higher Taste, Inc. v. City
        of Tacoma, 717 F.3d 712 (9th Cir. 2013); Kan. Judicial Watch v. Stout, 653 F.3d
        1230 (10th Cir. 2011); Common Cause/Georgia v. Billups, 554 F.3d 1340 (11th Cir.
        2009).


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        events.”27 Thus, merely being found “likely” to succeed on a claim, as Plaintiffs

        were here, would be insufficient in the Third Circuit.

               As explored in greater depth below, Plaintiffs also would not qualify for

        prevailing-party status in the Fifth Circuit. “[T]o qualify as a prevailing party . . .

        the plaintiff”:

                      (1) must win a preliminary injunction, (2) based upon an
                      unambiguous indication of probable success on the merits of the
                      plaintiff's claims as opposed to a mere balancing of the equities
                      in favor of the plaintiff, (3) that causes the defendant to moot the
                      action, which prevents the plaintiff from obtaining final relief on
                      the merits.”

        Dearmore v. City of Garland, 519 F.3d 517, 524 (5th Cir. 2008). Plaintiffs could

        not satisfy the third prong because the preliminary injunction here did not “cause[]

        the defendant to moot the action.” See Part IV.B.1 infra.

               Another of Plaintiffs’ cases, Rogers Group, Inc. v. City of Fayetteville, Ark.,

        683 F.3d 903 (8th Cir. 2012), suggests a similar requirement. There, the Eighth

        Circuit allowed prevailing party status where a city “eliminated the challenged




               27
                  Id. at 229. People Against Police Violence v. City of Pittsburgh, 520 F.3d
        226 (3d Cir. 2008) (“PAPV”), cited by Plaintiffs, Suppl. Br. at 33, is not typical of
        the Third Circuit’s approach. In granting the preliminary injunction at issue there,
        the district court ruled that the challenged ordinance “was facially unconstitutional.”
        Id. at 234 (emphasis added). Pointing out that the PAPV court’s ruling was not based
        in “probability,” the en banc Third Circuit later characterized it as “an example of
        that rare situation where a merits-based determination is made at the injunction
        stage.” Singer Mgmt. Consultants, 650 F.3d at 229.


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        provisions from its City Code,” having been “prompted by adverse holdings” of the

        district court. Id. at 907.

               The standards reflected in Plaintiffs’ cases from the Seventh and D.C. Circuits

        also would not accommodate Plaintiffs. In the Seventh Circuit, a preliminary

        injunction yields prevailing-party status only if the plaintiff wins “substantive relief

        that is not defeasible by further proceedings,” Dupuy v. Samuels, 423 F.3d 714, 719

        (7th Cir. 2005) (citation and punctuation omitted; emphasis added), as when a

        particular event covered by the injunction has passed, see id. at 720 (citing Young v.

        City of Chicago, 202 F.3d 1000 (7th Cir. 2000), where fees were allowed because

        “the plaintiff ha[d] obtained the relief he sought” and “the litigation manifestly had

        come to an end despite the lack of a final judgment on the merits”).28 Here, however,

        the temporary and limited relief afforded by the preliminary injunction was

        defeasible, and “further proceedings on the merits of the plaintiffs’ claims” were

        clearly contemplated. Id. at 723.




               28
                 Thus, Dupuy did not “hold[] that a preliminary injunction on the merits that
        is vacated as moot is sufficient for prevailing-party status.” Suppl. Br. at 36. In fact,
        the Seventh Circuit denied fees to the plaintiffs in Dupuy, despite that they had
        obtained a preliminary injunction. Years later, the Seventh Circuit noted that “the
        Supreme Court has repeatedly held that, other than a settlement made enforceable
        under a consent decree, a final judgment on the merits is the normative judicial act
        that creates a prevailing party.” Zessar v. Keith, 536 F.3d 788, 796 (7th Cir. 2008).


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              Likewise, in the D.C. Circuit, a preliminary injunction obtained in a case that

        is subsequently rendered moot is sufficient to establish prevailing-party status where

        plaintiffs received “the concrete and irreversible redress that they sought.” Select

        Milk Producers, Inc. v. Johanns, 400 F.3d 939, 942 (D.C. Cir. 2005). In Select Milk

        Producers, a preliminary injunction blocked enforcement of a regulation that would

        have caused “an immediate loss of an estimated $5,000,000 if [it] had taken effect.

        Id. at 941. The government “conceded that any money [plaintiffs] saved was

        permanent,” and it also did not dispute the district court’s “finding that [plaintiffs]

        undoubtedly would have succeeded on the merits.” Id. at 948. Here, by contrast,

        Plaintiffs received only a fraction of the relief they requested, the relief they received

        was temporary and reversible, and the Commissioner never conceded that the

        preliminary injunction result was permanent or correct.

              Plaintiffs submit that “[p]revailing party status should be determined on the

        facts of each case . . . .” Suppl. Br. at 30.29 But they offer no compelling reason to




              29
                  In this regard, they align themselves with the Sixth Circuit’s approach,
        which is “contextual and case-specific.” Planned Parenthood S.W. Ohio Region v.
        Dewine, 931 F.3d 530, 542 (6th Cir. 2019) (quoting McQueary v. Conway, 614 F.3d
        591, 604 (6th Cir. 2010)). In Plaintiffs’ cited Sixth Circuit case, Planned Parenthood
        prevailed because “it succeeded on a significant issue such that it achieved some
        benefit, and because its success conferred a lasting change in the legal relationship
        between the parties”—namely, a preliminary injunction that “restrained enforcement
        of [a] law for almost 12 years.” Id. at 542 (emphasis added).


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        jettison Smyth’s readily administrable, bright-line rule for any other circuit’s “fact-

        specific” standard. Dearmore, 519 F.3d at 521.

              B.     The Supreme Court has already rejected Plaintiffs’ principal
                     argument for expanding fee entitlement to plaintiffs who never
                     achieve victory on the merits.

              Plaintiffs argue that Smyth should be abandoned because Section 1988 was

        enacted to encourage civil rights litigation, and Smyth would prevent some plaintiffs

        from recovering fees. See Suppl. Br. at 31–33; IJ Br. at 4–8.

              These same broad concerns were raised by the dissent in Buckhannon—see

        532 U.S. at 622–23 (Ginsburg, J., dissenting) (asserting that disallowing the catalyst

        theory would “impede access to court for the less well-heeled” and “shrink the

        incentive Congress created” for private enforcement)—and rejected. As Justice

        Scalia explained, “Congress did not intend to maximize the quantity of ‘the

        enforcement of federal law by private attorneys general[.]’ Rather, Congress desired

        an appropriate level of enforcement—which is more likely to be produced by

        limiting fee awards to plaintiffs who prevail ‘on the merits.’” Id. at 621 (Scalia, J.,

        concurring) (citation omitted). Despite the petition’s pervasive assertion to the

        contrary, Plaintiffs alleged a constitutional violation, but never proved it “on the

        merits.” As Plaintiffs seem to agree, Section 1988 is for “encouraging meritorious

        civil rights litigation.” Suppl. Br. at 49 (emphasis added).




                                                  41
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              Plaintiffs make conclusory assertions about the “risk” that the “government

        moots [a] case prior to entry of a permanent injunction or other final judgment . . .

        deters plaintiffs from bringing meritorious civil rights cases,” but offer no evidence

        in support. Suppl. Br. at 3. It is likewise difficult to imagine—and Plaintiffs have

        offered no proof—that the unavailability of a fee award for a preliminary injunction,

        under the Smyth rule, has kept any plaintiff from bringing a meritorious civil rights

        action. Most plaintiffs seek permanent relief—and if they prevail on the merits of

        their claims, they are entitled to fees.

        IV.   The concern that Smyth allows defendants to moot cases strategically to
              avoid fees can be addressed by a limited exception where a preliminary
              injunction directly caused the mooting—but Plaintiffs cannot satisfy that
              exception.

              Alleging that “litigation gamesmanship occurred” in this case, Suppl. Br. at

        47–48, Plaintiffs go so far as to allege that General Assembly engaged in a “late-

        game repeal of the statute after entry of the preliminary injunction to foil Plaintiffs’

        ability to recover their fees,” Suppl. Br. at 33; see also id. (worrying that Smyth

        allows states to “keep unconstitutional laws on the books, mooting cases through

        legislative action at the last possible moment”). There is no merit to these assertions

        of gamesmanship, as evidenced by the fact that more than a year passed between the

        entry of the preliminary injunction and the repeal of the statutes. Moreover,

        Plaintiffs’ disagreement appears to be with the district court’s decision to stay the




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        case, which forestalled resolution of both Plaintiffs’ claims and the Commissioner’s

        defenses.30

              The Commissioner is mindful, however, of recent cases in which the Court

        has found it “unjust” to deprive a plaintiff of prevailing-party status because of a

        defendant’s “timely capitulation” in litigation. Reyazuddin v. Montgomery Cty.,

        Maryland, 988 F.3d 794, 798 (4th Cir. 2021); Grabarczyk v. Stein, 32 F.4th 301, 307

        (4th Cir. 2022) (following Reyazuddin). To the extent the Court is concerned that

        the Smyth rule could allow defendants in other circumstances to “game the system”

        by strategically mooting litigation after a preliminary injunction is entered, see Slip

        op. at 17 (Harris, J., concurring), that concern can be allayed by recognizing a limited

        exception that permits prevailing-party status when a defendant moots a case

        because of a preliminary injunction. As shown below, other circuits have adopted

        such an approach.

              To be clear, the Commissioner maintains that Smyth was correctly decided

        and that the preliminary injunction entered here was insufficient to confer

        prevailing-party status on Plaintiffs.    And the Commissioner shares Plaintiffs’


              30
                  See id. (lamenting that “Plaintiffs would have had their final day in court
        before the statute could have been repealed had it not been for the stay . . . .”).
        Plaintiffs’ accusation that the Commissioner engaged in “scorched-earth litigation
        tactics in an attempt to wear down indigent Plaintiffs” is especially ironic, Suppl. Br.
        at 49, given the Commissioner’s support for staying the litigation and sparing the
        parties and the district court the burden and expense of unnecessary litigation.


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        concern, that a causality requirement would add a dimension of complexity to the

        prevailing-party analysis that Smyth’s bright-line rule avoids. See Suppl. Br. at 42.

        Just like the “catalyst theory” hearing against which the Supreme Court warned,

        analysis of a defendant’s motivations in changing its conduct would “likely depend

        on a highly factbound inquiry and may turn on reasonable inferences from the nature

        and timing of the defendant’s change in conduct.” Buckhannon, 532 U.S. at 609–

        10.   Nevertheless, allowing prevailing-party status in the limited circumstances

        where causality can be proven is preferable to the “unjust” and textually indefensible

        outcome of locking in a fee award against a defendant merely upon entry of a

        preliminary injunction.

              A.     Courts have conferred prevailing-party status where defendants
                     moot a case in direct response to entry of a preliminary injunction.

              As noted above, see Part III.B supra, two other circuits have held that

        plaintiffs obtaining a preliminary injunction may attain prevailing-party status where

        the defendant moots the case because of the preliminary injunction. In Dearmore,

        the Fifth Circuit held that prevailing-party status requires obtaining a merits-based

        injunction “that causes the defendant to moot the action, which prevents the plaintiff

        from obtaining final relief on the merits.” 519 F.3d at 524. “Dearmore holds that

        the mooting of the case must be caused by the preliminary injunction . . . .” Amawi

        v. Paxton, No. 21-50360, 2022 WL 4093123, at *3 (5th Cir. Sept. 7, 2022). The

        Fifth Circuit has applied the Dearmore test in numerous subsequent cases, see, e.g.,


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        id.; Davis v. Abbott, 781 F.3d 207 (5th Cir. 2015), and the Eighth Circuit has

        recognized similar considerations, see Rogers Grp., Inc., 683 F.3d at 907

        (recognizing prevailing-party status where mooting action “prompted by adverse

        holdings” of the district court).

              This Court too has recently conferred prevailing-party status after cases were

        mooted, though in circumstances involving final judgments. In Grabarczyk, the

        plaintiff was awarded summary judgment and all the declaratory and injunctive

        relief he sought, an order from which the defendants appealed. 32 F.4th at 304–05.

        While the appeal was pending, the state legislature “responded to the district court’s

        decision with an amendment” to the statute the plaintiff challenged, rendering the

        action moot. Id. at 305. Defendants opposed the plaintiff’s request for fees, but the

        district court determined he was a prevailing party, and this Court agreed. Id. at

        305–07. The Court explained that “[the plaintiff] remains a prevailing party entitled

        to attorney’s fees in connection with his successful district court litigation because

        the legislature amended the challenged law – and thereby mooted his case –

        only after he won a final judgment on the merits and because of that judgment.” Id.

        at 310.

              Although occurring in the context of a final judgment, unlike here,

        Grabarczyk is analogous authority to consider if the Court concludes that a

        preliminary injunction can ever confer prevailing-party status. If the Court does



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        depart from Smyth, it should strongly consider limiting the availability of prevailing-

        party status to plaintiffs who can satisfy Dearmore’s third prong.31

              B.     The General Assembly did not repeal § 46.2-395 in response to the
                     preliminary injunction.

              Any concern about “gamesmanship” is unwarranted here. Contemporaneous

        statements by Plaintiffs’ counsel, as well as press coverage on which Plaintiffs rely,

        confirm that entry of the preliminary injunction in 2018 was not the catalyst for

        repeal in 2020 that Plaintiffs now assert. And Plaintiffs’ supposedly supportive

        evidence is anything but.

                     1.     Everyone—from the parties to the district court to the
                            press—recognized that the changed political composition of
                            the General Assembly triggered repeal of § 46.2-395.

              The General Assembly’s repeal of § 46.2-395 in 2020 was the result of the

        legislature’s changed political composition—not the entry of the preliminary

        injunction in 2018. As shown above, this point is beyond debate. See Facts Part C,

        supra; Def.’s Br. at 9–18. What is more, the parties and district court all knew it at

        the time.




              31
                 Given that this exception would be based in concerns about potential
        gamesmanship by defendants, prevailing-party status should not be conferred in
        cases where litigation was mooted by the acts of third parties. See, e.g., Planned
        Parenthood S.W. Ohio Region v. Dewine, 931 F.3d 530 (6th Cir. 2019); Kan. Jud.
        Watch v. Stout, 653 F.3d 1230 (10th Cir. 2011).


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              In explaining to the district court in the spring of 2019 why they opposed a

        stay, Plaintiffs pointed out that repeal was not a certainty because, after all, “the most

        recent attempt to repeal the statute failed at the hands of just four members of the

        General Assembly.” JA932. The Commissioner was more bullish about the political

        prospects for legislative action. Counsel for the Commissioner pointed to the

        “sweeping bipartisan support” for repeal, and agreed that it was “a mere four votes

        that blocked it last time around.” Tr. of Mot. Hr’g (June 19, 2019) at 7:3–6, Stinnie

        v. Holcomb, No. 3:16-cv-00044 (W.D. Va.), ECF No. 260. While the repeal measure

        “never reached the floor of the House because of four single votes in a single

        subcommittee,” success in the coming session was more probable “because of the

        political pressure as to those four seats on that subcommittee.” Id. at 6:17–22. But

        counsel predicted—correctly, it turns out—that, given the upcoming election,

        “there’s no reason to believe the same leadership will necessarily be in the House to

        prevent that [repeal] bill from going to the floor again.” Id. at 7:6–9. In ordering a

        stay, the district court expressly noted these “shifting political winds” and the

        “political hostility towards § 46.2-395.” Stinnie v. Holcomb, 396 F. Supp. 3d 653,

        658, 659 (W.D. Va. 2019) [JA948, JA950].

              When the General Assembly eliminated § 46.2-395 in its entirety the

        following year, Plaintiffs’ counsel openly “attributed the bill’s success to the new

        makeup of the General Assembly.” He explained that “‘in previous years, the



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        leadership of the House Courts Committee was different and they were able to stop

        what was frankly a common sense piece of reform.’”32 So too did the press

        understand that the House criminal laws subcommittee, which previously had

        refused to act on repeal legislation, “was transformed when the new Democratic

        Party majority took control after last year’s election.”33

              The Court should not be deluded by Plaintiffs’ effort to obtain fees by revising

        the historical record to place the preliminary injunction at the center of it.

                     2.     Plaintiffs’ evidence purportedly showing that the
                            preliminary injunction triggered repeal is unpersuasive, and
                            far shy of the evidence that other courts have found show a
                            causal connection.

              As the Fifth Circuit recently clarified, “Dearmore does not require inquiry

        into the subjective intent of the legislators” to determine a causal connection between

        entry of a preliminary injunction and the mooting of litigation. Amawi v. Paxton,

        No. 21-50360, 2022 WL 4093123, at *4 (5th Cir. Sept. 7, 2022). “Rather, such a

        showing could be accomplished in reference to purely objective metrics, for

        example, by establishing a compelling timeline, an outright admission, or the

        statutory language itself.” Id. But “the mere fact that a legislature has enacted


              32
                 Jimmy O’Keefe, Capital News Serv., Bill preventing license suspension
        over court debt unanimously passes Va. Senate (Feb. 12, 2020) (quoting LAJC
        attorney Pat Levy-Lavelle), https://tinyurl.com/mrxcye4y.
              33
                 Dave Ress, Va. licenses won’t be suspended for unpaid fines, The
        Virginian-Pilot (Feb. 28, 2020), https://tinyurl.com/5n8k5b87.


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        legislation that moots an action, without more, provides no grounds for assuming

        that the legislature was motivated by the unfavorable precedent.” Id. (cleaned up

        and quotation omitted).34

              Here, as in Amawi, Plaintiffs have “provided nothing to . . . this court evincing

        that the legislature had the preliminary injunction in mind when it completed passage

        of” SB1. Id. The few facts cited by Plaintiffs fall well short of establishing a causal

        link between repeal and the preliminary injunction. They are a far cry from the

        circumstances in which courts, including this one, have found such a link.

              First, Plaintiffs assert that the preliminary injunction “led to the

        Commissioner’s motion asking the Court to stay this case” four months later. Suppl.

        Br. at 43. Even if the basis for the stay were relevant, Plaintiffs are wrong: it was

        the passage of the budget amendment that prompted the motion. JA852. The LAJC

        had said that, if the budget amendment passed, the “lawsuit would effectively be

        moot.” Id. (quoting news article). The Commissioner’s motion to dismiss as moot

        or, in the alternative, for a stay of proceedings, responded to the LAJC’s concession,

        and additionally pointed out that judicial economy would not be served by litigating



              34
                The Fifth Circuit thereby reversed the decision on which Plaintiffs rely for
        the proposition that a court can “simply look[] at the timing of repeal after entry of
        a preliminary injunction as demonstrative of causation.” Suppl. Br. at 40 (citing
        Amawi v. Pflugerville Indep. Sch. Dist., No. 1:18-CV-1091-RP, 2021 WL 1226569,
        at *5 (W.D. Tex. Mar. 31, 2021).


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        discovery, class certification, and merits matters, given that § 46.2-395 would no

        longer be enforced. As much as Plaintiffs want to characterize entry of a stay as

        “litigation gamesmanship” by the Commissioner, Suppl. Br. at 47–48, it was the

        district court that ordered it.

               Second, Plaintiffs find it significant that their co-counsel LAJC was among a

        broad coalition of groups that advocated for repeal of Virginia’s license-suspension

        policy. See Suppl. Br. at 44. But that does not prove that the preliminary injunction

        triggered repeal. Even if “impact litigation” was “part of a coordinated effort of

        reform and political opposition” by LAJC, that hardly means that any success of

        LAJC’s lobbying efforts is somehow also attributable to its litigation efforts. Id.

        For the same reason, Governor Northam’s appearance with LAJC—a prominent

        opponent of the license-suspension policy—to propose his budget amendment in

        March 2019 says nothing about the significance of the preliminary injunction. Much

        less does it demonstrate any impact on the General Assembly’s decision, more than

        a year later, to repeal the statute.

               Finally, Plaintiffs repeat their refrain that the “Commissioner’s [January

        2020] letter to Senator Stanley also helps show this ligation’s effect on the legislative

        process.”    Suppl. Br. at 46.         The Commissioner has already explained his

        bewilderment at how a letter to a single legislator—which was sent more than a year

        after the preliminary injunction and which does not mention the preliminary



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        injunction, see JA968—proves that the entire General Assembly repealed the statute

        because of the preliminary injunction. See ECF No. 62 [Def.’s Opp’n to Pet. for

        Rehr’g En Banc] at 17. The letter didn’t cause Stanley to propose repeal; his bill

        was pre-filed months before, and he had filed a similar bill in each of several years

        before that. In any event, the Commissioner’s suggested tweak to the bill, of an

        “emergency enactment” clause, was rejected.

              In short, Plaintiffs’ supposed evidence of a causal connection fall well short

        of establishing that the General Assembly mooted the case “in direct response to the

        district court’s preliminary injunction order.” Dearmore, 519 F.3d at 525. In

        Dearmore itself, the “obvious causal link between the district court’s issuance of the

        preliminary injunction and the City’s subsequent amendment of the Ordinance to

        moot the case” was that, “[a]lmost immediately following the district court’s

        issuance of the preliminary injunction, counsel for the City informed counsel for

        Dearmore that Dearmore need not post the bond to enforce the injunction, because

        the City planned to amend the Ordinance to address the district court’s concerns.”

        Id. at 525–26. See also Davis, 781 F.3d at 217 (in redistricting suit, finding

        Dearmore’s third prong satisfied where legislative history referenced the litigation;

        noting that the state’s adoption of the interim redistricting plan ordered by the court,

        which was “functionally similar to [a] preliminary injunction[,] . . . [made] the causal

        link more apparent”).



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              This Court’s decision in Grabarcyk also offers a useful contrast to this case.

        There, the North Carolina legislature mooted a case after a plaintiff was awarded

        summary judgment and injunctive and declaratory relief that a statute violated due

        process. 32 F.4th at 305. “A few weeks” after the decision, the legislature

        “responded to the district court’s decision with an amendment” remedying the

        constitutional violation. Id. “By express reference to this lawsuit, the legislation

        also established a special procedure for review of the Grabarczyk class members’

        [status].” Id. (emphasis added). See also Amawi, 2022 WL 4093123, at *4 (causal

        link can be shown “by establishing a compelling timeline . . . or the statutory

        language itself”).

              Here, Plaintiffs offer no similar indicia of a causal relationship between the

        preliminary injunction and the General Assembly’s repeal of § 46.2-395. The two

        events were not at all close in time. Instead of the “few weeks” signaling a

        connection in Grabarczyk, more than sixty weeks (from December 2018 to February

        2020) passed after entry of the preliminary action and repeal of the statute—a period

        during which other efforts at repeal failed, including in the 2018 General Assembly

        session that closely followed entry of the injunction. See Facts Part C supra. And

        when the General Assembly did act, there was no express (or even implicit)

        acknowledgment of the litigation in the resulting legislation, as there was in

        Grabarczyk. Moreover, the General Assembly’s wholesale repeal was not tailored



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        to amending the notice provisions of § 46.2-395 that Plaintiffs challenged as

        inadequate, which—consistent with the larger policy debate and history of reform

        efforts—indicates hostility to the overall policy, not just to the aspect of the statutory

        scheme targeted in the preliminary injunction order. Indeed, as shown above, the

        sweeping bipartisan vote repealing § 46.2-395 did not come out of the blue, as if

        triggered by the preliminary injunction, but instead fit seamlessly within a much

        longer movement towards repeal. See supra Part IV.B.1.

              Repeal was not a direct response to the preliminary injunction.

                                           CONCLUSION

              The Court should affirm Smyth—but, in any event, conclude that Plaintiffs are

        not prevailing parties here.



                                                     Respectfully submitted,

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                                                     Acting Commissioner of the Virginia
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                             STATEMENT REGARDING ORAL ARGUMENT

                Counsel for Defendant-Appellee will gladly participate if the Court believes

        that oral argument would aid the decisional process.



                                   CERTIFICATE OF COMPLIANCE

                I certify that this brief complies with the requirements of Federal Rule of

        Appellate Procedure 32(a)(5) and (a)(6) because it has been prepared in 14-point

        Times New Roman, a proportionally spaced font, and that it complies with the type-

        volume limitation of Rule 32(a)(7)(B) because it contains 12,637 words, excluding

        the parts exempted by Rule 32(f), according to the count of Microsoft Word.

                                                            /s/ Maya M. Eckstein
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                                         CERTIFICATE OF SERVICE

                I hereby certify that on September 21, 2022, I electronically filed this brief

        with the Clerk of this Court by using the appellate CM/ECF system. The participants

        in the case are registered CM/ECF users and service will be accomplished by the

        appellate CM/ECF system.

                                                            /s/ Maya M. Eckstein
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